Case 1:22-cv-05037-AKH Document 5 Filed 07/22/22 Page 1of1

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KEITH JOHNSON Case No.: 1:22-cv-05037
Plaintiffs,
- versus -

ELON MUSK, SPACE EXPLORATION MOTION FOR ADMITTANCE PRO
TECHNOLOGIES CORP dba SPACEX, HAC VICE
TESLA, INC.

Defendants.

TO THE HONORABLE COURT:

Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the
Southern and Eastern Districts of New York, Santos A. Perez, Esg., hereby moves
this Court for an Order for admission to practice Pro Hac Vice to appear as counsel

for plaintiff Keith Johnson and The Class, in the above-captioned action. I am a

member in good standing of the bar of the state of New Jersey since 1998 and
there are no pending disciplinary proceedings against me in any state or federal
court. I have never been convicted of a felony. I have never been censured,
suspended, disbarred or denied admission or readmission by any court. I have

attached the affidavit pursuant to Local Rule 1.3.

Dated: July 22, 2022 ae Submitted,

Santos A. Perez, Esq.

The Perez Law Firm

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